Case 5:07-cr-00001-DF-CMC
Case 5:07-cr-00001-DF-CMC *SEALED*
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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                    TEXARKANA DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
  V.                                               §    CRIMINAL NO. 5:07CR1
                                                   §
 . NELSON ALEXANDER ANDRADE (01)                   §
   ANTONIO GUADALUPE ARAMBUL (02)                  §
   SIMONEL DURAN ESTRADA (03)                      §

                                              ORDER

         CAME ON this day for consideration the Government's Motion to Unseal the Indictment,

  and the Court having considered the same, the Court is of the opinion that said motion should be

  granted.

         It is THEREFORE, ORDERED, ADJUDGED and DECREED that the Government's

  Motion to Unseal Indictment is hereby granted.
         SIGNED this 1st day of May, 2007.




                                                       ____________________________________
                                                       CAROLINE M. CRAVEN
                                                       UNITED STATES MAGISTRATE JUDGE
